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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA,                            )
                                                     )
               v.                                    )       No. 1:18cr111
                                                     )
JULIAN PAUL ASSANGE                                  )

                                     MOTION TO DISMISS

       On March 6, 2018, the defendant was indicted by a grand jury in this district on one count.

On May 23, 2019, the defendant was indicted in a superseding indictment by a grand jury in this

district on 18 counts. On June 24, 2020, the defendant was indicted in a second superseding

indictment by a grand jury in this district on 18 counts. On June 26, 2024, the defendant pleaded

guilty to a criminal information in the U.S. District Court for the Northern Mariana Islands in Case

No. 1:24-cr-0014. Pursuant to the plea agreement in that case, which is attached to this motion

as Ex. 1, the Government moves to dismiss the Indictment filed on March 6, 2018, the Superseding

Indictment filed on May 23, 2019, and the Second Superseding Indictment filed on June 24, 2020,

and vacate the associated arrest warrants.

                                                          Respectfully submitted,

       RAJ PAREKH                                         MATTHEW G. OLSEN
       ACTING UNDER AUTHORITY                             ASSISTANT ATTORNEY GENERAL
       CONFERRED BY 28 U.S.C. § 515                       NATIONAL SECURITY DIVISION
                                                          U.S. DEPARTMENT OF JUSTICE

 By:          /s                                    By:
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                                                          U.S. Department of Justice
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2024, I electronically filed the foregoing Motion to

Dismiss and draft Order of Dismissal with the Clerk of Court using the CM/ECF system, which

will send a notification of such filing (NEF) to counsel of record.


                              _________/s________________________
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